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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      CRIMINAL NO. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

   GOVERNMENT’S MOTION IN LIMINE FOR EXPEDITED APPOINTMENT OF
      CONFLICT-FREE COUNSEL AND CONFLICT INQUIRY HEARING

       The United States of America respectfully moves this Court in limine for appointment of

conflict-free counsel and a conflict inquiry hearing well in advance of the February 12, 2024 trial

date, to address defense counsel’s filing on January 19, 2024, of a lawsuit against the government’s

expert witness’s employer, Chainalysis, in New York State Court.

       In addition, the government informs the Court about possible violation of the Protective

Order in this case by anyone involved in defense counsel’s New York lawsuit; about defense

counsel using their lawsuit as an end-run around Local Criminal Rule 57.7(b); and about the New

York lawsuit being the latest effort in defense counsel’s campaign of harassment and attempted

witness intimidation targeting a government witness.

                                  FACTUAL BACKGROUND

       On December 26, 2023, an anonymous Internet commentator published an opinion article

in Bitcoin Magazine announcing advanced knowledge of a lawsuit being filed against Chainalysis

by a Hong Kong-based “crypto project” called YieldNodes. As the Court may recall, the same

anonymous Internet commentator previously published a gratuitous ad hominem attack against the

government’s expert witness from Chainalysis, claiming the witness was working for “corporate

overlords” and was “better suited pursuing an art history degree”—in an article that was based on
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the “unreleased transcript” of the June 23, 2023 Daubert hearing in this case. See ECF No. 161,

at 11-12. In December, this anonymous Internet commentator wrote to promote the forthcoming

lawsuit against Chainalysis, and explained that the lawsuit would be based on the defense

allegations in this case: “YieldNodes now accuses Chainalysis of putting ‘marketing ahead of

reliability,’ citing the admitted lack of scientific evidence for their flagship product . . . .” The

word “admitted” contains a hyperlink to the CourtListener page for the government’s supplemental

expert disclosure in this case, ECF No. 149-1 (which, contrary to the Internet commentator’s

characterization, nowhere “admit[s]” to “lack of scientific evidence”).

       On January 17, 2024—two days before defense counsel filed their lawsuit against

Chainalysis—a YouTube video was released showing defense counsel’s appearance at a

cryptocurrency conference in May 2023 to comment about this case and solicit donations. In the

video, Mr. Hassard explicitly linked defense counsel’s advice regarding the government’s prior

plea offer with the attorneys’ desire to “take down Chainalysis,” stating:

       A couple of days ago, we get this plea offer from the government, right. And
       Roman calls us, we’re talking to him about the plea. ‘I don’t want to hear about
       the plea, you know, I want to talk about the case, we’re taking this sh*t, you know.’
       And I was like, you know, that’s the f***ing right attitude, man, let’s f***ing go,
       let’s take down Chainalysis, let’s take down DOJ on this one, you know?

Profits Over Justice w/ Michael Hassard & Tor Ekeland #Monerotopia23, at 54:33 (Jan. 17, 2024),

https://www.youtube.com/watch?v=_LBUdHK47o0. 1

       On January 19, 2024, the same two lawyers representing the defendant in this case filed a

lawsuit in New York State Court, accusing Chainalysis of defamation and tortious interference



1
  Release of this video on YouTube may also constitute an independent violation of Local Criminal
Rule 57.7(b) and the Court’s August 29, 2023 Order, if defense counsel authorized it. See LCrR
57.7(b)(3) (prohibiting attorneys from, inter alia, “authoriz[ing] the release” of an out-of-court
statement in violation of the Rule “which a reasonable person would expect to be disseminated by
means of public communication”).
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with business relationships. See Compl., Exceptional Media Ltd. v. Chainalysis, Inc., et al. (N.Y.

Sup. Ct. Jan. 19, 2024), attached as Ex. A. The lawsuit seeks compensatory and punitive damages

from Chainalysis, claiming damages of “at least” $650,000,000—as well as payment for the two

attorneys’ “costs of suit.” Id. at 12.

                                           ARGUMENT

    A. Legal Framework

        Criminal defendants are entitled to conflict-free defense counsel.         See Strickland v.

Washington, 466 U.S. 668, 692 (1984). A criminal defendant has a right to choose his counsel of

choice, but that right is not absolute and “‘is circumscribed in several important respects.’” United

States v. Gonzalez-Lopez, 548 U.S. 140, 144 (2006) (quoting Wheat v. United States, 486 U.S.

153, 159 (1988)).     Although a trial court “must recognize a presumption in favor of [the

defendant’s] counsel of choice, . . . that presumption may be overcome not only by a

demonstration of actual conflict [of interest], but by a showing of a serious potential for conflict.”

Wheat, 486 U.S. at 164.

        This Court has an independent duty to inquire into potential conflicts of interest. “A court

confronted with and alerted to a possible conflict of interest must take adequate steps to ascertain

whether the conflicts warrant separate counsel.” Wheat, 486 U.S. at 160. As the D.C. Circuit has

recognized, “[t]here is no more important area” for the supervision of attorneys “than guaranteeing

that the professional advocates give their causes ‘warm zeal’ unfettered by conflicting loyalties or

interests.” Polydoroff v. I.C.C., 773 F.2d 372, 375 (D.C. Cir. 1985).

        In United States v. Lopesierra-Gutierrez, 708 F.3d 193 (D.C. Cir. 2013), the D.C. Circuit

affirmed the twin procedural safeguards of a conflict inquiry hearing and the assistance of conflict-

free counsel in order to address a potential conflict of interest by defense counsel. The defendant



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in Lopesierra-Gutierrez waived a potential conflict on the part of his trial counsel. His trial counsel

had received laundered money from a government cooperator, raising potential criminal exposure

for the lawyer under 18 U.S.C. § 1957. The district court held two status conferences in the matter.

At the second status conference, the defendant was represented by an outside conflicts counsel

who along with defendant’s counsel and the government agreed that the defendant could waive

any conflict of interest. The Court allowed the defendant to proceed with his counsel of choice.

See id. at 198-99. The D.C. Circuit held that these safeguards ensured that the defendant’s waiver

of the potential conflict was knowing and voluntary. Id. at 202.

       The D.C. Circuit’s decision in Lopesierra-Gutierrez also reiterated the district court’s

independent duty to prevent conflicts that might affect the integrity of the proceedings:

       Also implicated are the court’s own institutional interests, as guaranteeing conflict-
       free counsel protects not just defendants’ rights, but also the federal courts’
       independent interest in ensuring that criminal trials are conducted within the ethical
       standards of the legal profession and that legal proceedings appear fair to all who
       observe them. . . . Specifically, a court may decline to accept a waiver if the conflict
       of interest jeopardizes the integrity of the proceedings. In making this
       determination, a court balances the defendant’s right to choose his representative
       against both the defendant’s countervailing right to conflict-free representation and
       the court’s independent interest in the integrity of criminal proceedings. The
       outcome of that balance turns on the nature and extent of the conflict.

Id. at 200 (cleaned up).

   B. Defense Counsel’s Lawsuit Against Chainalysis Raises Potential Conflicts

       Here, defense counsel’s simultaneous representation of Roman Sterlingov in this criminal

trial and the plaintiff in the New York lawsuit against Chainalysis raises issues of divided loyalty

and the potential for compromised judgment in the defendant’s criminal defense. The D.C. Rules

of Professional Conduct provide that:

       (b) Except as permitted by paragraph (c) below, a lawyer shall not represent a client
       with respect to a matter if:

                                                ***

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               (2) Such representation will be or is likely to be adversely affected by
               representation of another client;

               (3) Representation of another client will be or is likely to be adversely
               affected by such representation;

               (4) The lawyer’s professional judgment on behalf of the client will be or
               reasonably may be adversely affected by the lawyer’s responsibilities to or
               interests in a third party or the lawyer’s own financial, business, property,
               or personal interests.

D.C. R. Prof. Conduct 1.7(b)(2)-(4). Paragraph 1.7(c) refers to the procedures to obtain informed

consent from the lawyer’s clients, and to certify the lawyer’s ability to provide competent and

diligent representation notwithstanding the conflict.

       Courts have recognized conflicts where lawyers have competing interests that might affect

tactical decisions during the course of a criminal representation. For example, in United States v.

Hearst, 638 F.2d 1190, 1193 (9th Cir. 1980), the Ninth Circuit found that a defense attorney

securing a book contract about a widely publicized criminal trial gave rise to a potential conflict

of interest, and the Ninth Circuit remanded for a conflict hearing. Id. at 1195. Although the book

contract undoubtedly provided an incentive for the defense attorney to seek an acquittal, the Ninth

Circuit also found that it could have affected the attorney’s “tactical decisions”—including

decisions about whether to seek a continuance, whether to seek a change of venue to minimize

pretrial publicity, and whether to “put her on the witness stand, so her story would go on the public

record and he would not be constrained by the attorney-client confidentiality rules.” Id. at 1193.

Under these circumstances, “the district court erred” in denying a conflict hearing. Id.; see also

United States v. Hurt, 543 F.2d 162 (D.C. Cir. 1976) (remanding for appointment of conflict-free

counsel where defendant’s appellate counsel was being sued for defamation by his former trial

counsel, explaining that “[t]he pressure under which appellate counsel labored may well have

resulted in subtle restraints which not even he could pinpoint or define”).


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       In much the same way, defense counsel’s tactical decisions in this criminal proceeding may

be affected by their simultaneous representation of YieldNodes in its lawsuit against Chainalysis.

For example, as in the Hearst case, defense counsel’s decision to advise the defendant whether or

not to testify at trial may be affected by considerations of publicity or getting certain statements

into the public record. See 638 F.2d at 1193. Their simultaneous representation may have the

effect of “locking-in” a specific defense strategy focused on Chainalysis, even if that strategy is

not (or is no longer) in the defendant’s best interest. Defense counsel may be reluctant to shift

focus to alternative defenses, or to seek an advantageous plea or cooperation deal for his client.

As noted above, when Mr. Hassard described defense counsel’s consultations with their client

about a pending plea offer (to a public audience), he explicitly linked those consultations to the

attorneys’ desire to use the defendant’s case as a vehicle to “take down Chainalysis.” Moreover,

prompted by defense counsel’s recent inquiry that defendant “would be interested in a plea deal,”

the government recently re-opened its prior plea offer, underscoring the need for the defendant to

be advised by conflict-free counsel.

       The YieldNodes lawsuit also gives defense counsel a financial stake in “tak[ing] down

Chainalysis,” because the defendant’s counsel are seeking payment of attorney’s fees and costs

from Chainalysis. It is a bedrock principle, codified in the D.C. Rules of Professional Conduct

among others, that “[a] lawyer shall not enter into an arrangement for, charge, or collect a

contingent fee for representing a defendant in a criminal case.” D.C. R. Prof. Conduct 1.5(d); see

Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 633 n.10 (1989) (“[C]ontingent fees

in criminal cases are generally considered unethical.”). Given defense counsel’s possible efforts

to use material from this prosecution to support their lawsuit against Chainalysis—in which they

are seeking $650 million in damages as well as their “costs of suit”—they have effectively given



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themselves a financial interest in the outcome of this criminal case, or at minimum a financial

interest in the success of one particular defense strategy here: “tak[ing] down” a particular

government witness.

         In short, defense counsel now have competing interests that may compromise their ability

to give their client “detached advice” related to the criminal case. See D.C. R. Prof. Conduct 1.7,

Cmt. [10].

      C. Defense Counsel’s Lawsuit Risks Violation of Protective Order, Creating Further
         Risk of Conflict

         The Protective Order is clear that “[a]ll materials provided by the United States . . . may be

used by the defendant and defense counsel … solely in connection with the defense of this case,

and for no other purpose, and in connection with no other proceeding, without further order of this

Court.” ECF No. 18 at para 1. And the Court has made it clear that the Protective Order in this

case “applies to each and every individual who has viewed or will view” discovery produced in

this case, including “information provided by Chainalysis,” and that any person who has viewed

such material in this case “may not use that information for any purpose other than in connection

with this case.” Minute Order (Sept. 21, 2023).

         The government is aware that the defense filed ex parte Protective Order acknowledgment

forms reflecting disclosure of protected discovery material that “do not include an individual’s full

name, but instead include what appear to be monikers or nicknames.” Minute Order (Nov. 13,

2023). The Court’s Minute Order also referred to “page 106” of the ex parte defense filing—

raising concerns that the defense has disclosed protected discovery material to a substantial number

of persons whose identity remains secret from the government, Chainalysis, and the public. See

id.




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        Defense counsel’s newly-filed lawsuit against Chainalysis may involve some of these same

outside persons, including undisclosed consulting experts or anonymous Internet commentators

who go by “monikers or nicknames,” who have reviewed the discovery in this case. If so, defense

counsel and others may be at risk of breaching the Protective Order which specifically prohibits

use of discovery “in connection with” any “other proceeding.” It will be particularly difficult for

this Court to supervise compliance with the Protective Order in a separate New York State court

proceeding after this trial is concluded. 2

    D. Defense Counsel’s Lawsuit Constitutes Harassment and Attempted Intimidation of
       Government’s Expert

        During the September 13, 2023 Pretrial Conference in this case, the Court expressed

concern about defense counsel’s threats to sue Chainalysis, and questioned whether the

defendant’s unsupported discovery demands were “intended to dissuade Chainalysis from

participating in this case in particular, but perhaps other cases more generally, and at least,

arguably, constitute a form of harassment.” 9/13/23 Tr. at 115. The uncanny timing of defense

counsel’s lawsuit against Chainalysis, filed just weeks before trial, appears intended to further

impose costs and dissuade Chainalysis from participating in this case. 3




2
 If a breach of the Protective Order were to occur, that would compound the danger of a defense
counsel conflict and could lead to a future claim of ineffective assistance of counsel. See United
States v. Prakazrel Michel, D.D.C. Case No. 1:19-cr-148-CKK, ECF No. 310 at 43-48 (motion for
new trial recounting “conflict of interest” created by protective order breach).
3
 The timing and substance of the lawsuit against Chainalysis may also fit the profile of a Strategic
Lawsuit Against Public Participation (SLAPP), further raising the stakes for defense counsel by
exposing them to liability under Anti-SLAPP laws for fees and costs as well as compensatory and
punitive damages. See D.C. Code §§ 16-5501, et seq.; N.Y. Civil Rights Law §§ 70-a, 76-a; see
United States v. Hurt, 543 F.2d 162 (D.C. Cir. 1976) (finding potential conflict based on defense
counsel’s exposure to legal liability in pending defamation suit).
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   E. Defense Counsel’s Lawsuit May Be Intended To Circumvent Local Criminal Rule
      57.7(b)

       Finally, the government is concerned that defense counsel’s lawsuit against Chainalysis

may be intended to provide a means of circumventing Local Criminal Rule 57.7(b), by providing

a fig leaf for defense counsel to continue making inflammatory out-of-court statements about the

“identity, testimony, or credibility” of one of the government’s witnesses.                See LCrR

57.7(b)(3)(iv).

   F. The Court Should Appoint Conflict-Free Counsel and Hold a Conflict Inquiry
      Hearing

       The defendant may waive an apparent conflict of interest subject to full disclosure and the

defendant’s informed consent. See D.C. R. Prof. Conduct 1.7(c)(1)-(2) (conflict is waivable if

client “provides informed consent . . . after full disclosure of the existence and nature of the

potential conflict and the possible adverse consequences of such representation” and counsel

“reasonably believes” he will be able to provide “competent and diligent representation” despite

such conflict). As the Rules explain, “[t]he underlying premise is that disclosure and informed

consent are required before assuming a representation if there is any reason to doubt the lawyer’s

ability to provide wholehearted and zealous representation of a client . . . .” Id. R. 1.7, Cmt. [7].

       Under the circumstances, the government moves that the Court follow the procedure

approved in Lopesierra-Gutierrez and appoint a conflict-free counsel to independently advise the

defendant of the risks of proceeding with his current counsel of choice. The government further

moves that the Court hold a conflict inquiry hearing to ensure the defendant is aware of the

potential conflicts arising out of his defense counsel’s simultaneous representation of YieldNodes

in the New York lawsuit against Chainalysis, and satisfy itself that the defendant has made a

knowing and voluntary waiver of the potential conflict.



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       Given the imminency of the February 12, 2024 trial date—which has already been

continued twice, over the government’s objections—the government urges the Court to act on an

expedited basis.

                                        CONCLUSION

       For the foregoing reasons, the Court should appoint conflict-free counsel to advise the

defendant and hold a conflict inquiry hearing.


                                             Respectfully submitted,
                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                     BY:     /s/ Christopher B. Brown
                                             Christopher B. Brown, D.C. Bar No. 1008763
                                             Assistant United States Attorney
                                             U.S. Attorney’s Office for the District of Columbia
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-7153
                                             Christopher.Brown6@usdoj.gov

                                             /s/ C. Alden Pelker
                                             /s/ Jeffrey Pearlman
                                             C. Alden Pelker, Maryland Bar
                                             Jeff Pearlman, D.C. Bar No. 466901
                                             Trial Attorneys, U.S. Department of Justice
                                             Computer Crime & Intellectual Property Section
                                             1301 New York Ave., N.W., Suite 600
                                             Washington, D.C. 20005
                                             (202) 616-5007 (Pelker)
                                             (202) 579-6543 (Pearlman)
                                             Catherine.Pelker@usdoj.gov
                                             Jeffrey.Pearlman2@usdoj.gov




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